             Case 1:09-cv-00840-LJB Document 9 Filed 03/19/10 Page 1 of 1



      In The United States Court of Federal Claims
                                          No. 09-840L

                                     (Filed: March 19, 2010)
                                           __________
 WAYNE A. BRACKETT,
 JEANNE V. BRACKETT,

                       Plaintiffs,

        v.

 THE UNITED STATES,

                       Defendant.
                                           _________

                                           ORDER
                                          __________


        On January 26, 2010, the parties filed a Joint Motion To Transfer. The parties’ motion is
hereby GRANTED. Further to the promotion of docket efficiency and the efficient
administration of justice, and with the agreement of both judges, the Clerk of the Court shall
transfer the above-captioned matter to the docket of the Honorable Lynn J. Bush, pursuant to
RCFC 40.1(b) and 40.2(a)(4).

        IT IS SO ORDERED.




                                                             s/ Francis M. Allegra
                                                            Francis M. Allegra
                                                            Judge
